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gRicl IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

FORT WORTH DIVISION
UNITED STATES OF AMERICA 4- 20 CR-26 8 - Pp
Vv. No.
STEVEN BERGLUND (01) US. DISTRICT COURT
AARON CERPANYA (02) eR eTE RTL ED. OF TEXAS
ADAM GARDNER _ (03)
CODY WADDELL (04)

OCT 15 2020

 

INDICTMENT

 

 

CLERK, U.S. DISTRICT COURT
The Grand Jury charges: By

 

Deputy

 

 

At all times material to this Indictment:
Introduction

1. As set forth more fully below, from on or about September 1, 2017 through
July 2018, defendants Steven Berglund, Aaron Cerpanya, Adam Gardner, and Cody
Waddell (collectively, “Defendants”), together with others known and unknown,
conspired to defraud Blue Cross Blue Shield (“BCBS”) and other health care benefit
programs (collectively, “Insurers”) by submitting, and causing to be submitted materially
false claims for laboratory services, to wit: Defendants submitted claims that falsely
represented that Palo Pinto General Hospital (“PPGH”), a rural hospital, performed the
laboratory services when, in fact, the laboratory services were performed by other
laboratories. In furtherance of this scheme, defendants used, without lawful authority, the
means of identification of real persons. As a result of the scheme, Insurers paid more for

the laboratory services than they would have had they been given accurate information.

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The Defendants and Others Relevant to the Scheme

 

2. Berglund was a resident of Dallas, Texas and co-owned Elite MSO Health
Services, LLC, doing business as Elite Healthcare (used interchangeably, “Elite
Healthcare”), along with Cerpanya and others. Elite Healthcare was located in Farmers
Branch, Texas. Berglund operated other companies that went by various names,
including Alliance and Endeavor.

3. Cerpanya was a resident of Grapevine, Texas and co-owned Elite
Healthcare, Alliance, and Endeavor with Berglund and others.

4. Gardner was a resident of Fort Worth, Texas and Co-Founder of
MedHealth Solutions, LLC (“MedHealth”), was located in Fort Worth, Texas and
provided consulting and other services in the health care sector.

5. Waddell was a resident of Fort Worth, Texas and President/Co-Founder of
MedHealth, along with Gardner.

6. Palo Pinto General Hospital (“PPGH”), located in Mineral Wells, Texas,
was owned and operated by the Palo Pinto County Hospital District, organized under the
laws of the State of Texas, and its purpose was to serve as a general acute care hospital
for the county.

7. Harris Brooks was a resident of Mineral Wells, Texas and was the Chief
Executive Officer of PPGH. As CEO, Brooks was responsible for authorizing PPGH to
participate in the scheme to defraud, which the coconspirators often referred to as

PPGH’s “outside lab program.”

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8. Billing Company-1, an Australian-based company, performed billing on
behalf of PPGH’s outside lab program. Bills were sent electronically to Insurers from Sri
Lanka using interstate and foreign wire transmissions.

The Health Care Benefit Programs

 

9. BCBS and other insurers offered health care benefit programs in the State
of Texas to individuals enrolled for coverage under individual and employer-sponsored
group plans. Individuals who received health care benefits were referred to as
“Subscribers” or “Members.” At times, BCBS acted as a third-party administrator for
self-funded plans.

10. Each individual and group insurance plan detailed the benefits available to
Members, including inpatient and outpatient services for hospital-related care, which
included laboratory services. Each insurance plan specified, among other things, the
amount of the Member’s copayment, coinsurance, and deductible for covered items and
services.

11. Laboratories, physicians, and other health care providers, including
hospital-based providers such as PPGH, often applied to an insurer to become “in-
network.” In-network providers were reimbursed by the insurer at a rate set by contract
and typically involved lower out-of-pocket costs for patients.

12. By contrast, reimbursement rates for “out-of-network” providers were not

set by contract and typically involved higher out-of-pocket costs to patients.

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Coverage of Laboratory Services

13. Insurers offered health benefit plans to Members that covered expenses for
medically necessary laboratory services, which varied based on the medical needs of each
individual patient.

14. Laboratory tests were routinely ordered for Members by physicians in
conjunction with the Member’s medical care. The amount of reimbursement varied per
insurer based on the contractual agreements between the healthcare provider, the
laboratory, and the insurer.

15. | BCBS and other insurers used in-network or preferred laboratories. The
laboratories involved in this scheme, however, were out-of-network. In some instances,
Insurers would not reimburse out-of-network laboratories for services rendered.

16. | PPGH was an in-network provider for BCBS and many other insurers. In
addition, PPGH’s status as a rural hospital enabled it to receive higher rates of payment in
some instances than hospitals located in urban areas. PPGH’s in-network contracts and
status as a rural hospital made PPGH a lucrative target for the fraud scheme, because it
involved higher rates of reimbursement than if the out-of-network laboratory had billed.

Claim Submission Process

 

17. To obtain payment from the Insurers, the provider or laboratory was
required to submit claims to the Insurers that included, among other things, the following
information: a unique provider identification number called the National Provider

Identifier (“NPI”), the patient’s name, the patient’s diagnosis described by a standardized

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code, a description of the service(s) rendered to the patient using standardized codes, the
date and location the services were provided, and the amount claimed for payment.

18. BCBS and other health care benefit programs expected providers and
laboratories to submit true, complete, and accurate claims. Because reimbursement rates
varied between providers and laboratories, inaccurate information about where or by

whom services were provided could result in overpayment.

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Count One
Conspiracy to Commit Wire and Healthcare Fraud
(Violation of 18 U.S.C. § 1349 (18 U.S.C. §§ 1343 and 1347))

19. Paragraphs 1 through 18 of this Indictment are realleged and incorporated
by reference as though fully set forth herein.

20. On or about September 1, 2017, through in or about July 2018, in the
Northern District of Texas and elsewhere, defendants Steve Berglund, Aaron
Cerpanya, Adam Gardner, and Cody Waddell, along with others known and unknown,
did knowingly and willfully combine, conspire, confederate, and agree with each other to
commit wire fraud, in violation of 18 USC. §1343; and health care fraud, in violation of
18 U.S.C. §1347.

Object of the Conspiracy

21. The Defendants, along with others known and unknown, engaged in a
scheme to defraud health care benefit programs in order to enrich themselves in violation
of 18 U.S.C. §§ 1343 and 1347. The conspiracy involved material misrepresentations,
omissions, and other deception to falsely represent to Insurers that medical services had
been performed by providers whose reimbursement rates were higher than the providers
who actually performed the services.

Manner and Means of the Conspiracy and the Scheme to Defraud

22. From in or around September 2017 and continuing through in or around
July 2018, Berglund, Cerpanya, and others known and unknown, doing business as
Elite Healthcare, Alliance, Endeavor, and other business names, marketed genetic,

allergy, and other laboratory services to physicians and other health care providers not

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associated with PPGH. Berglund and Cerpanya claimed that they would send
laboratory samples for non-PPGH patients for processing at PPGH. In reality, the
samples were sent to other, out-of-network laboratories, not PPGH.

23. In some instances, in order to induce health care providers to order
laboratory services, Berglund, Cerpanya, and others offered and paid kickbacks directly
and indirectly to providers out of their portion of the proceeds from the scheme.

24. The Defendants knew that the health care providers ordering the laboratory
tests were not PPGH health care providers, that PPGH was not conducting the testing on-
site, and that the vast majority of laboratory samples collected were not from PPGH
patients. Despite the lack of any connection to PPGH, the coconspirators caused the
submission of claims to Insurers through interstate and foreign wires, using PPGH’s NPI
number, which falsely represented that PPGH was doing the testing on-site. These
misrepresentations defrauded the Insurers by causing them to reimburse PPGH and pay a
higher reimbursement rate than they otherwise would have paid.

25. In response to concerns expressed by one health care provider about where
the laboratory samples were being tested, Berglund, Cerpanya, and others misled the
health care provider into believing that testing was being done at PPGH.

26. In order to maintain control over the scheme, Berglund and others arranged
for Billing Company-1 to conduct the billing of the fraudulent laboratory claims on
behalf of PPGH, even though PPGH had an internal billing department that typically

billed insurance providers for laboratory services actually performed at PPGH.

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27. The Defendants oversaw the implementation of the billing scheme at
PPGH in conjunction with Brooks, Billing Company-1, and others known and unknown.

28. Insubmitting claims for reimbursement, the coconspirators possessed,
transferred, and used the means of identification of patients, without lawful authority,
during and in relation to their fraudulent scheme.

29. In order to prevent patients from complaining to Insurers or alerting the

press to the fraud, the coconspirators agreed not to charge patients any out-of-pocket fees.

Despite this, some patients noticed on their explanation of benefits that PPGH, which
they had never heard of before, billed thousands of dollars for laboratory services.
Berglund, Cerpanya, and others at Elite, along with Billing Company-1 tried to address
any such patient complaints or questions. The coconspirators would reassure patients
that there would be no out-of-pocket costs and would lie to patients, telling them that the
laboratory tests were being done at PPGH.

30. During the course of the conspiracy, the scheme changed to conceal it
further. Rather than have the providers who took the laboratory samples send them
directly to the outside laboratories, as the coconspirators did early in the conspiracy,
beginning in or about April 2018, the coconspirators began to have the providers send
samples to PPGH via the mails and commercial interstate carriers. PPGH would then
enter each patient’s information into its internal medical records, re-package and re-label
the samples, and send them via the mails and commercial interstate carriers to outside

laboratories for testing.

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This was known as the “accessioning” process, and its purpose was, in part, to make it
appear to Insurers as though tests were being conducted by PPGH when, in reality, they
were not.
Effect on Health Insurers

31. Beginning in or about September 2017 and continuing through July 2018,
Billing Company-1, on behalf of PPGH, submitted claims to Insurers for laboratory
services totaling more than $55 million, the vast majority of which were fraudulent. Asa
result of these claims, the Insurers paid PPGH more than $8 million. After paying
outside laboratories and Billing Company-1, these proceeds were then divided up
between the various coconspirators.

Overt Acts in Furtherance of the Conspiracy

32. In furtherance of the conspiracy and to effect its object, in the Northern
District of Texas and elsewhere, Waddell, on behalf of MedHealth, signed a Laboratory
Services Agreement (“LSA”) with Brooks, on behalf of PPGH, effective on or about
October 1, 2017. The LSA outlined the terms of the agreement, whereby PPGH agreed
to pay MedHealth sixty percent of the monthly “Net Collections” received by PPGH
from Insurers as a result of the fraudulent scheme. MedHealth would then pay a portion
of the proceeds it received from the scheme to Gardner and Waddell.

33. In addition, effective on or about September 1, 2017 and amended on or
about October 1, 2017, Waddell, on behalf of MedHealth, signed a Management

Services Agreement with Cerpanya, on behalf of Elite.

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In substance, Elite and MedHealth agreed to split their portion of the proceeds from the
fraudulent scheme seventy-five percent and twenty-five percent, respectively. Elite was
also to receive a flat fee of $20,000 per month.

34. Also in furtherance of the conspiracy and to effect its object, Defendants
committed and caused to be committed the overt acts alleged in Counts Two through

Ten.
All of the above acts were done in violation of 18 U.S.C. § 1349 (18 U.S.C. §§

1343 and 1347).

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35.

34 of this Indictment.

36.

Counts Two through Four
Wire Fraud
(Violations of 18 U.S.C. §§ 1343 and 2)

The Grand Jury realleges the allegations set forth in paragraphs 1 through

On or about the dates specified as to each count below, in the Northern

District of Texas and elsewhere, defendants Steve Berglund, Aaron Cerpanya, Adam

Gardner, Cody Waddell, and others known and unknown, aiding and abetting each

other and acting for the purpose of executing and attempting to execute the scheme and

artifice to defraud described in paragraphs 21 through 34, knowingly caused to be

transmitted by means of wire communications in interstate and foreign commerce the

signals and sounds constituting a materially false request for reimbursement from BCBS,

that is, misrepresenting that laboratory samples were being tested at PPGH when in fact

they were being tested at an out-of-network laboratory that had a lower reimbursement

rate, each transmission constituting a separate count:

 

 

 

 

 

 

 

reimbursement sent by
Billing Company-1 in

 

Count | Member | Date of Date of Description of wire Nature of
Initials | service Claim communication Misrepresentation
2 J.P. 11/03/2017 | 12/06/2017 | Claim for Claim falsely

representing that
laboratory services

Sri Lanka to BCBS in | were provided by

Texas PPGH when in fact
they were provided
by an out-of-
network laboratory

 

 

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Count | Member | Date of Date of Description of wire Nature of
Initials | service Claim communication Misrepresentation
3 K.G. 02/01/2018 | 05/22/2018 | Claim for Claim falsely
reimbursement sent by | representing that
Billing Company-1 in | laboratory services
Sri Lanka to BCBS in | were provided by
Texas PPGH when in fact
they were provided
by an out-of-
network laboratory
4 M.G. 03/01/2018 | 03/16/2018 | Claim for Claim falsely
reimbursement sent by | representing that

 

 

 

 

Billing Company-1 in
Sri Lanka to BCBS in
Texas

 

laboratory services
were provided by
PPGH when in fact
they were provided
by an out-of-
network laboratory

 

All in violation of 18 U.S.C. §§ 1343 and 2.

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Counts Five through Seven
Health Care Fraud
(Violations of 18 U.S.C. §§ 1347 and 2)

37. Grand Jury realleges the allegations set forth in paragraphs 1 through 34 of
this Indictment.

38. | Onor about the dates specified as to each count below, in the Northern
District of Texas and elsewhere, defendants Steve Berglund, Aaron Cerpanya, Adam
Gardner, Cody Waddell, and others known and unknown, aiding and abetting each
other and acting for the purpose of executing and attempting to execute the scheme and
artifice to defraud BCBS, a health care benefit program as defined by 18 U.S.C. § 24(b)
and described in paragraphs 21 through 34, and to obtain by means of materially false
and fraudulent pretenses, representations, and promises, in connection with the delivery
of and payment for health care benefits, items, and services, by submitting and causing to
be submitted false and fraudulent claims to BCBS, that is, misrepresenting that laboratory
samples were being tested at PPGH when in fact they were being tested at an out-of-
network laboratory that had a lower reimbursement rate, each claim constituting a

separate count:

 

 

Count | Member | Date of Dates of Health Nature of Misrepresentation
Initials | Service Claim Benefit
Program
5 AP. 12/04/2017 | 02/06/2018 | BCBS Claim falsely representing that

laboratory services were
provided by PPGH when in fact
they were provided by an out-
of-network laboratory

 

 

 

 

 

 

 

 

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Count | Member | Date of Dates of Health Nature of Misrepresentation
Initials | Service Claim Benefit
Program
6 L.B. 03/27/2018 | 04/06/2018 | BCBS Claim falsely representing that
‘laboratory services were
provided by PPGH when in fact
they were provided by an out-
of-network laboratory
7 F.H 10/31/2017 | 05/09/2018 | BCBS Claim falsely representing that
laboratory services were
provided by PPGH when in fact
they were provided by an out-
of-network laboratory

 

All in violation of 18 U.S.C. §§ 1347 and 2.

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Count Eight
Aggravated Identity Theft

(Violation of 18 U.S.C. §§ 1028A and 2)

39. The Grand Jury realleges the allegations set forth in paragraphs 1 through
38 of this Indictment.

40. Onor about March 16, 2018, in the Northern District of Texas and
elsewhere, defendants Steve Berglund, Aaron Cerpanya, Adam Gardner, and Cody
Waddell, aiding and abetting each other and others, did knowingly transfer, possess, and
use, without lawful authority, the means of identification of another person, that is, the
name and date of birth belonging to M.G., a real person, during and in relation to a felony
enumerated in 18 U.S.C. § 1028A(c), that is, wire fraud, in violation of 18 U.S.C. § 1343,
as described in Count 4, and conspiracy to commit wire and health care fraud in violation
of 18 U.S.C. § 1349, as described in Count 1, knowing that the means of identification
belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A and 2.

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Count Nine
Aggravated Identity Theft
(Violation of 18 U.S.C. §§ 1028A and 2)

41. The Grand Jury realleges the allegations set forth in paragraphs 1 through
38 of this Indictment.

42. Onor about May 9, 2018, in the Northern District of Texas and elsewhere,
defendants Steve Berglund, Aaron Cerpanya, Adam Gardner, and Cody Waddell,
aiding and abetting each other and others, did knowingly transfer, possess, and use,
without lawful authority, the means of identification of another person, that is, the name
and date of birth belonging to F.H., a real person, during and in relation to a felony
enumerated in 18 U.S.C. § 1028A(c), that is, health care fraud, in violation of
18 U.S.C. § 1347, as described in Count 7, and conspiracy to commit wire and health
care fraud in violation of 18 U.S.C. § 1349, as described in Count 1, knowing that the

means of identification belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A and 2.

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Count Ten
Aggravated Identity Theft
(Violation of 18 U.S.C. §§ 1028A and 2)

43. The Grand Jury realleges the allegations set forth in paragraphs 1 through
38 of this Indictment

44.  Onor about December 6, 2017, in the Northern District of Texas and
elsewhere, defendants Steve Berglund, Aaron Cerpanya, Adam Gardner, and Cody
Waddell, aiding and abetting each other and others, did knowingly transfer, possess, and
use, without lawful authority, the means of identification of another person, that is, the
name and date of birth belonging to J.P., a real person, during and in relation to a felony
enumerated in 18 U.S.C. § 1028A(c), that is, wire fraud, in violation of 18 U.S.C. § 1343,
as described in Count 2, and conspiracy to commit wire and health care fraud in violation
of 18 U.S.C. § 1349, as described in Count 1, knowing that the means of identification

belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A and 2.

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Forfeiture Notice
(18 U.S.C. § 982(a)(7))

45. Pursuant to 18 U.S.C. § 982(a)(7), upon conviction of any offense violating
18 U.S.C. §§ 1349, 1347, and/or 1343, the defendant shall forfeit to the United States of
America property, real or personal, that constitutes or is derived, directly or indirectly,
from gross proceeds traceable to the conspiracy and/or scheme to defraud.

46. The government may seek a forfeiture “money” judgment if property
subject to forfeiture is not available as a result of any act or omission of the defendant(s)
for one or more of the reasons listed in 21 U.S.C. § 853(p).

47. The government may seek forfeiture of substitute property from the

defendant(s), pursuant to 21 U.S.C. § 853(p).

A TRUE BILL.

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FOREPERSON

ERIN NEALY COX
UNITED STATES ATTORNEY

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801 Cherry Street, #4

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Fax: 817-252-5455

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA
v.

STEVEN BERGLUND (01)
AARON CERPANYA (02)
ADAM GARDNER (03)
CODY WADDELL (04)

 

INDICTMENT

18 U.S.C. § 1349 (18 U.S.C. §§ 1343 and 1347)
Conspiracy to Commit Wire and Healthcare Fraud
Count 1

18 U.S.C. §§ 1343 and 2
Wire Fraud
Counts 2-4

18 U.S.C. §§ 1347 and 2
Healthcare Fraud
Count 5-7

18 U.S.C. §§ 1028A and 2
Aggravated Identity Theft
Counts 8-10

18 U.S.C. § 982(a)(7)
Forfeiture Notice

 

A true bill rendered My, )

FORT WORTH FOREPERSON
Filed in open court this 15th day of October, 2020.

 

 

Warrants to Issue. / \
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A S MAGISTRATE JUDGE

  
